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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                          CIVIL MINUTES—GENERAL

Case No.     2:21-cv-07489-DMG-SHK                                    Date: October 28, 2021

Title: Mia Malana Garitano-Rivera v. Kilolo Kijakazi, Acting Commissioner of Social Security



Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge


              D. Castellanos                                           Not Reported
               Deputy Clerk                                            Court Reporter


    Attorney(s) Present for Plaintiff(s):                   Attorney(s) Present for Defendant(s):
               None Present                                            None Present


Proceedings (IN CHAMBERS): ORDER TO SHOW CAUSE



       On September 17, 2021, Plaintiff filed a Complaint seeking judicial review of a decision of
the Commissioner of Social Security. Electronic Case Filing Number (“ECF No.”) 1, Complaint.
On September 22, 2021, the Court issued its Case Management Order (“CMO”) in which, Plaintiff
was ordered to file a proof of service within thirty (30) days of the CMO issuing. ECF No. 7,
CMO. To date, the proof of service has not been filed with the Court.

       Accordingly, Plaintiff is ordered to show cause no later than November 4, 2021, why this
case should not be dismissed for failure to prosecute. Filing the proof of service by
November 4, 2021 shall constitute compliance with this Order.

IT IS SO ORDERED




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